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                          NEO4J, INC. and NEO4J SWEDEN AB
                   10

                   11                                       UNITED STATES DISTRICT COURT

                   12                                  NORTHERN DISTRICT OF CALIFORNIA

                   13     NEO4J, INC., a Delaware corporation, and             CASE NO. 5:18-cv-07182-EJD
                          NEO4J SWEDEN AB, a Swedish
                   14     corporation,                                         [PROPOSED] ORDER RE PLAINTIFFS’
                                                                               ADMINISTRATIVE MOTION TO FILE
                   15                         Plaintiffs,                      PORTIONS OF TRIAL EXHIBIT 209
                                                                               UNDER SEAL
                   16             v.
                                                                               Judge:        Hon. Edward J. Davila
                   17     PURETHINK LLC, a Delaware limited
                          liability company, IGOV INC., a Virginia
                   18     corporation, and JOHN MARK SUHY, an
                          individual,
                   19
                                              Defendants.
                   20

                   21     AND RELATED COUNTERCLAIMS.
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H OPKINS & C ARLEY
  ATTORNEYS AT LAW
                          4866-2492-9189.1
SAN JOSE   REDWOOD CITY   [PROPOSED] ORDER RE PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE PORTIONS OF TRIAL EXHIBIT 209 UNDER SEAL;
                          5:18-CV-07182-EJD
                            Case 5:18-cv-07182-EJD Document 245 Filed 02/21/24 Page 2 of 2



                     1            Now before the Court is Plaintiffs’ and Counter-Defendants’ (“Plaintiffs”) Administrative
                     2    Motion to File Portions of Trial Exhibit 209 Under Seal (“Administrative Motion”). Having
                     3    considered the Administrative Motion and all papers in support of the Administrative Motion
                     4    submitted by Plaintiffs Neo4j, Inc. and Neo4j Sweden AB (collectively “Plaintiffs”) and good
                     5    cause appearing, the Court finds that:
                     6
                                  1.      There exists a compelling overriding confidentiality interests that have overcome
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                          the right of public access to the record of the following documents, and there is therefore good
                     8
                          cause to file the documents under seal:
                     9

                   10      Identification of Materials to be Sealed             Designating Party Information
                           The redacted portions of Trial Exhibit 209 of        Plaintiffs’ private, confidential, and
                   11      the 2022-12-22 Expert Report of Steven B.            commercially sensitive business information
                           Boyles.                                              drawn from Trial Exhibits 15-19 and 118, for
                   12
                                                                                which good cause warranting the sealing of
                   13                                                           this information has already been determined.
                                                                                See Dkt. No. 243.
                   14

                   15             2.      A substantial probability exists that overriding confidentiality interests will be
                   16     prejudiced if the record is not sealed;
                   17             3.      The proposed redactions and sealing are narrowly tailored; and
                   18             4.      No less restrictive means exist to achieve these overriding interests.
                   19             IT IS THEREFORE ORDERED that Plaintiffs’ Administrative Motion is GRANTED
                   20     with respect to the document set forth above and it HEREBY BE FILED UNDER SEAL.
                   21             IT IS SO ORDERED.
                   22

                   23             February 21
                          Dated: _______________, 2024
                                                                                Honorable Edward J. Davila
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